                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF IOWA
                               EASTERN DIVISION

 UNITED STATES OF AMERICA,
                 Plaintiff,                               No. 15-CR-2038-LRR
 vs.                                                             ORDER
 TRISHA ELAINE MILLARD,
                 Defendant.


         The matter before the court is United States Chief Magistrate Judge Jon S. Scoles’s
Report and Recommendation (docket no. 59), which recommends that the court deny
Defendant Trisha Elaine Millard’s “Motion to Suppress” (“Motion”) (docket no. 33).
         On October 14, 2015, Defendant filed the Motion, which seeks to suppress evidence
obtained from a June 4, 2015 stop of Defendant’s vehicle and subsequent statements made
by Defendant at the police station.       On October 21, 2015, the government filed a
Resistance (docket no. 43). On November 5, 2015, Judge Scoles held a hearing on the
Motion. See November 5, 2015 Minute Entry (docket no. 52). Defendant appeared in
court with his attorney, Michael Lindeman. Assistant United States Attorney Lisa C.
Williams represented the government. On November 10, 2015, Judge Scoles issued the
Report and Recommendation. The Report and Recommendation states that “within
fourteen (14) days after being served with a copy of this Report and Recommendation, any
party may serve and file written objections with the district court.”           Report and
Recommendation at 8.
         The time to object to the Report and Recommendation has expired and neither party
has filed objections. The parties have thus waived their right to de novo review of the
Report and Recommendation. See, e.g., United States v. Newton, 259 F.3d 964, 966 (8th
Cir. 2001) (“‘[A party’s] failure to file any objections waived his right to de novo review




       Case 6:15-cr-02038-LRR-MAR        Document 60      Filed 11/25/15   Page 1 of 2
by the district court of any portion of the report and recommendation of the magistrate
judge as well as his right to appeal from the findings of fact contained therein.’” (quoting
Griffini v. Mitchell, 31 F.3d 690, 692 (8th Cir. 1994))). The court finds no plain error in
Judge Scoles’s decision.        Accordingly, the court ADOPTS the Report and
Recommendation (docket no. 59). The Motion to Suppress (docket no. 33) is DENIED.
       IT IS SO ORDERED.
       DATED this 25th day of November, 2015.




                                             2


    Case 6:15-cr-02038-LRR-MAR          Document 60      Filed 11/25/15    Page 2 of 2
